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Fill in this information to identify your case:

Debtor 1                  Sonja Nicole Williams (Ross)
                          First Name                   Middle Name                  Last Name

Debtor 2
(Spouse if, filing)       First Name                   Middle Name                  Last Name


United States Bankruptcy Court for the:          NORTHERN DISTRICT OF GEORGIA

Case number           19-56304
(if known)                                                                                                                              Check if this is an
                                                                                                                                        amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married     I was not married at the time of the original filing. I am married now as of 10/2023. - Sonja Williams Ross

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                           Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                           lived there                                                                      lived there
       3323 Jamont Blvd                                    From-To:                       Same as Debtor 1                                     Same as Debtor 1
                                                           11/24/16-7/17/17                                                                 From-To:
       Alpharetta, GA 30022


       1950 Blair Circle Unit 1501                         From-To:                       Same as Debtor 1                                     Same as Debtor 1
                                                           9/23/15-11/23/16                                                                 From-To:
       Atlanta, GA 30319


3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income             Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                               exclusions)                                                  and exclusions)

From January 1 of current year until              Wages, commissions,                      $28,397.16            Wages, commissions,
the date you filed for bankruptcy:             bonuses, tips                                                  bonuses, tips
                                                  Operating a business                                           Operating a business
Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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Debtor 1     Sonja Nicole Williams (Ross)                                                              Case number (if known)   19-56304


                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income           Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.       (before deductions
                                                                                exclusions)                                                and exclusions)

For last calendar year:                            Wages, commissions,                     $181,682.00            Wages, commissions,
(January 1 to December 31, 2018 )               bonuses, tips                                                  bonuses, tips
                                                   Operating a business                                           Operating a business

For the calendar year before that:                 Wages, commissions,                     $473,355.00            Wages, commissions,
(January 1 to December 31, 2017 )               bonuses, tips                                                  bonuses, tips
                                                   Operating a business                                           Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income           Gross income
                                                Describe below.                 each source                    Describe below.             (before deductions
                                                                                (before deductions and                                     and exclusions)
                                                                                exclusions)
From January 1 of current year until Child Support                                            $4,684.00
the date you filed for bankruptcy:

For last calendar year:                         Child Support                               $14,052.00
(January 1 to December 31, 2018 )

For the calendar year before that:              Child Support                               $14,050.00
(January 1 to December 31, 2017 )


Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.
           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.




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 Debtor 1      Sonja Nicole Williams (Ross)                                                                Case number (if known)   19-56304


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       John Jamont                                              Ongoing monthly                 $7,730.00         $708,293.64          Mortgage
       PO BOX 9261                                                                                                                     Car
       Marietta, GA 30065                                                                                                              Credit Card
                                                                                                                                       Loan Repayment
                                                                                                                                       Suppliers or vendors
                                                                                                                                       Other


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
      including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
      support and alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       GCCC/AJY Foundation v Sonja                              Civil                       Superior County of Fulton                   Pending
       Williams                                                                             County                                      On appeal
       2017CV297124                                                                                                                     Concluded


       Craig A. Alexander v Sonja N.                            Civil                       Fulton County Superior                      Pending
       Williams                                                                             Court                                       On appeal
       2016CV274754                                                                         Atlanta, GA 30303                           Concluded

                                                                                                                                    Plaintiff dismissed without
                                                                                                                                    Prejudice

       Craig A. Alexander v Sonja N.                            Civil                       Fulton County Superior                      Pending
       Williams                                                                             Court                                       On appeal
       2016CV275785                                                                         Atlanta, GA 30303                           Concluded

                                                                                                                                    Plaintiff dismissed without
                                                                                                                                    Prejudice

       Craig A. Alexander v Sonja N.                            Civil                       Fulton County Superior                      Pending
       Williams                                                                             Court                                       On appeal
       2016CV275669                                                                         Atlanta, GA 30303                           Concluded

                                                                                                                                    Administratively Closed
                                                                                                                                    Pending Bankruptcy Stay


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3

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Debtor 1     Sonja Nicole Williams (Ross)                                                            Case number (if known)    19-56304


      Case title                                         Nature of the case           Court or agency                          Status of the case
      Case number
      Craig A. Alexander v Sonja N.                      Civil                        Fulton County Superior                          Pending
      Williams                                                                        Court                                           On appeal
      2018CV301183                                                                    Atlanta, GA 30303                               Concluded

                                                                                                                               Default Judgement


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                          Describe the Property                                          Date                        Value of the
                                                                                                                                                       property
                                                         Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
        No
        Yes. Fill in the details.
      Creditor Name and Address                          Describe the action the creditor took                          Date action was                 Amount
                                                                                                                        taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?
           No
           Yes

Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
        No
        Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600               Describe the gifts                                       Dates you gave                    Value
      per person                                                                                                        the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
        Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total           Describe what you contributed                            Dates you                         Value
      more than $600                                                                                                    contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

           No
           Yes.     Fill in the details.
      Describe the property you lost and             Describe any insurance coverage for the loss                       Date of your          Value of property
      how the loss occurred                                                                                             loss                               lost
                                                     Include the amount that insurance has paid. List pending
                                                     insurance claims on line 33 of Schedule A/B: Property.




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Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                  Description and value of any property                    Date payment               Amount of
      Address                                              transferred                                              or transfer was             payment
      Email or website address                                                                                      made
      Person Who Made the Payment, if Not You
      Law Office of Danielle J. Eloit, P.C.                310.00 filing fee.                                       4/2019                       $310.00
      2470 Windy Hill Road SE, Suite 151
      Marietta, GA 30067
      danielle@djelawfirm.com


      001 Debtorcc, Inc.                                   $14.95                                                   12/13/2018                    $14.95
      378 Summit Avenue
      Jersey City, NJ 07306


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                  Description and value of any property                    Date payment               Amount of
      Address                                              transferred                                              or transfer was             payment
                                                                                                                    made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.
      Person Who Received Transfer                         Description and value of                   Describe any property or          Date transfer was
      Address                                              property transferred                       payments received or debts        made
                                                                                                      paid in exchange
      Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
        No
        Yes. Fill in the details.
      Name of trust                                        Description and value of the property transferred                            Date Transfer was
                                                                                                                                        made




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Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of               Type of account or        Date account was            Last balance
      Address (Number, Street, City, State and ZIP           account number                 instrument                closed, sold,           before closing or
      Code)                                                                                                           moved, or                        transfer
                                                                                                                      transferred
      Chase Bank                                             XXXX-1589                          Checking              11/1/2018                     $3,301.56
                                                                                                Savings
                                                                                                Money Market
                                                                                                Brokerage
                                                                                                Other

      Suntrust Bank                                          XXXX-0952                          Checking              11/1/2018                     $1,022.87
                                                                                                Savings
                                                                                                Money Market
                                                                                                Brokerage
                                                                                                Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?             Describe the contents               Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                             have it?
                                                                   State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access             Describe the contents               Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                     have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes.     Fill in the details.
      Owner's Name                                                 Where is the property?                 Describe the property                          Value
      Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                   Code)

Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.



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24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                                Governmental unit                             Environmental law, if you           Date of notice
      Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and      know it
                                                                  ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                                Governmental unit                             Environmental law, if you           Date of notice
      Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and      know it
                                                                  ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                  Court or agency                            Nature of the case                     Status of the
      Case Number                                                 Name                                                                              case
                                                                  Address (Number, Street, City,
                                                                  State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation
           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                         Describe the nature of the business                   Employer Identification number
      Address                                                                                                     Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                                  Dates business existed
      Shock Theory DVL Inc                                  Web and App Development, Event                        EIN:       XX-XXXXXXX
      822 Jamont Cir                                        Production and Video Production
      Alpharetta, GA                                                                                              From-To    9/12/13 - Current


      Shock Theory Interactive Inc                          Web Design and App                                    EIN:       XX-XXXXXXX
      12705 Century Blvd                                    Development
      Alpharetta, GA 30009                                                                                        From-To    2/2003-8/31/2013


      Skyvierson, Inc.                                      Distributor of Kidlytics App,                         EIN:       XX-XXXXXXX
      10450 Belladrum                                       CareCynk App with Hashcronym
      Johns Creek, GA 30022                                 technology.                                           From-To    5/2/2016-08/24/2017



      Skyvier Holdings, LLC                                 Held other companies assets                           EIN:       XX-XXXXXXX
      10450 Belladrum                                       associated with the ownership
      Alpharetta, GA 30022                                  and distribution of QAviation,                        From-To    5/2/2016 - 8/24/2017
                                                            Qrewlive, Hashcronyms,
                                                            Kidlytics, Qrewlogg, QTalk and
                                                            others.




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       Business Name                                         Describe the nature of the business               Employer Identification number
       Address                                                                                                 Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                               Dates business existed
       Skyvier, Inc.                                         Tech App, Interest in Qrewlive,                   EIN:         XX-XXXXXXX
       10450 Belladrum                                       Distributor of QAviation family of
       Johns Creek, GA                                       software to include Qrewlive,                     From-To      4/6/2016-8/24/2017
                                                             Qrewlogg, QTalk and other
                                                             associated software with
                                                             Hashcronym technology.



       Onphy, Inc.                                           Tech App: Distributor Onphy                       EIN:         XX-XXXXXXX
       822 Jamont Circle                                     dating app w/ Hashcronyms.
       Alpharetta, GA 30022                                                                                    From-To      10/2019


       SociallyLive, Inc.                                    Tech App/Web Platform,                            EIN:         XX-XXXXXXX
       10450 Belladrum                                       Sociallylive.
       Alpharetta, GA 30022                                                                                    From-To      4/4/2016-8/24/217


       AAV Worldwide Corporation                             Management Consulting Services                    EIN:         XX-XXXXXXX
       2300 Lakeview Parkway, Suite 700                      relating Aviation Application
       Alpharetta, GA 30009                                  Ventures and other production                     From-To      3/9/2017-09/07/2018
                                                             related services.



28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                  Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.


Sonja Nicole Williams (Ross)                                           Signature of Debtor 2
Signature of Debtor 1

Date       January 2, 2025                                             Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person        . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case and this filing:

 Debtor 1                     Sonja Nicole Williams (Ross)
                              First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)          First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF GEORGIA

 Case number             19-56304                                                                                                                                 Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                           12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?




 1.1                                                                             What is the property? Check all that apply
         822 Jamont Circle                                                              Single-family home                         Do not deduct secured claims or exemptions. Put
         Street address, if available, or other description
                                                                                                                                   the amount of any secured claims on Schedule D:
                                                                                        Duplex or multi-unit building              Creditors Who Have Claims Secured by Property.
                                                                                        Condominium or cooperative
                                                                                        Manufactured or mobile home
                                                                                                                                   Current value of the      Current value of the
         Alpharetta                        GA        30022                              Land                                       entire property?          portion you own?
         City                              State              ZIP Code                  Investment property                               $865,700.00                $865,700.00
                                                                                        Timeshare
                                                                                                                                   Describe the nature of your ownership interest
                                                                                        Other
                                                                                                                                   (such as fee simple, tenancy by the entireties, or
                                                                                 Who has an interest in the property? Check one    a life estate), if known.
                                                                                        Debtor 1 only
         Fulton                                                                         Debtor 2 only
         County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                        Check if this is community property
                                                                                        At least one of the debtors and another         (see instructions)
                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                       $865,700.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                   Schedule A/B: Property                                                                  page 1
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Debtor 1            Sonja Nicole Williams (Ross)                                                                   Case number (if known)      19-56304
3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

                                                                                                                            Do not deduct secured claims or exemptions. Put
     3.1    Make:      Mercedes Benz                        Who has an interest in the property? Check one                  the amount of any secured claims on Schedule D:
            Model:     E350                                     Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
            Year:      2014                                     Debtor 2 only                                               Current value of the      Current value of the
            Approximate mileage:                                Debtor 1 and Debtor 2 only                                  entire property?          portion you own?
            Other information:                                  At least one of the debtors and another


                                                                Check if this is community property                                 $18,600.00                 $18,600.00
                                                                 (see instructions)



                                                                                                                            Do not deduct secured claims or exemptions. Put
     3.2    Make:      Mercedes Benz                        Who has an interest in the property? Check one                  the amount of any secured claims on Schedule D:
            Model:     CLA250                                   Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
            Year:      2016                                     Debtor 2 only                                               Current value of the      Current value of the
            Approximate mileage:                                Debtor 1 and Debtor 2 only                                  entire property?          portion you own?
            Other information:                                  At least one of the debtors and another


                                                                Check if this is community property                                   $8,542.00                 $8,542.00
                                                                 (see instructions)




4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

           No
           Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                $27,142.00

Part 3: Describe Your Personal and         Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                  Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured
                                                                                                                                                   claims or exemptions.
6.    Household goods and furnishings
      Examples: Major appliances, furniture, linens, china, kitchenware
        No
        Yes. Describe.....
                                   Household Furnishings                                                                                                         $3,500.00

                                   Household Electronics                                                                                                         $1,000.00


7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                including cell phones, cameras, media players, games
        No
        Yes. Describe.....

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                 other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                musical instruments
        No
        Yes. Describe.....
Official Form 106A/B                                                  Schedule A/B: Property                                                                           page 2
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Debtor 1     Sonja Nicole Williams (Ross)                                                         Case number (if known)   19-56304

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
     Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
     No
     Yes. Describe.....
                              Clothing and shoes                                                                                               $500.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
     No
     Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                    $5,000.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                    Current value of the
                                                                                                                               portion you own?
                                                                                                                               Do not deduct secured
                                                                                                                               claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
     Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                               17.1.     Checking               Wells Fargo                                                                       $0.00



                               17.2.     Business Checking Wells Fargo                                                                            $0.00



                               17.3.     Checking               Capital One                                                                       $0.86


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................        Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
    and joint venture
     No
     Yes. Give specific information about them...................
                               Name of entity:                                          % of ownership:

Official Form 106A/B                                        Schedule A/B: Property                                                                page 3
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Debtor 1     Sonja Nicole Williams (Ross)                                                          Case number (if known)   19-56304
                                  ShockTheory DLV, Inc.                                                  100         %                        $9,000.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
     Yes. List each account separately.
                              Type of account:                Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                               Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............   Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............  Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes. Give specific information about them...
                                      Provisional Patents, Trade Secrets, Intellectual Property including
                                      Confidential Information related to Hashcronyms, Kidlytics,
                                      CareCynk, QAviation , Qrewlive, QTalk, Qrewlogg,
                                      Qrewlive/Qrewlogg DMC, Qrewlive/Qrewlogg EMC, QCentral,
                                      QDirect, and associated intellectual property, including logos,
                                      specifications, research, and prototypes.                                                               Unknown

                                      Trade Secrets, intellectual property and confidential information
                                      relating to Mobloco, MobiMinis, SociallyLive, JankyToSwanky,
                                      PoliticalCocktails, TuDegrees, Pique.me, OnPhy and yDistrupt.                                           Unknown


27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes. Give specific information about them...

Money or property owed to you?                                                                                                    Current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured
                                                                                                                                  claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......
Official Form 106A/B                                        Schedule A/B: Property                                                                 page 4
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Debtor 1      Sonja Nicole Williams (Ross)                                                           Case number (if known)    19-56304


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay,       workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes. Give specific information..
                                             Possible partial property tax refund from tax commissioner,
                                             once appeal is finalized.                                                                           Unknown


31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
     No
     Yes. Name the insurance company of each policy and list its value.
                                  Company name:                                           Beneficiary:                               Surrender or refund
                                                                                                                                     value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
      No
      Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes. Describe each claim.........
                                             Counterclaim in Civil Action: 2017CV297124
                                             Global Common Community Communications, LLC, et al vs
                                             Sonja Williams - Settled during Chapter 13 Case                                                     Unknown

                                             Sonja N. Williams v John Jamont, Jamont Homes Inc., 2010
                                             Atlanta LLC., Tripac General Contractors Inc.
                                             2019CV324021                                                                                        Unknown

                                             Potential Lawsuit Against Deer Chase Homeowners
                                             Association                                                                                                $0.00

                                             Law suit against Craig Alexander for the theft of Qrewlive                                          Unknown

                                             Law suite against Delta Air Lines for the theft of Qrewlive                                         Unknown

                                             Law Suit against Ning Hu                                                                            Unknown

                                             CRAIG ALEXANDER, Plaintiff,
                                             v.
                                             DELTA AIRLINES, INC.;
                                             EDWARD BASTIAN; RAHUL SAMANT; MATTHEW MUTA;
                                             DARRELL HASKIN; DAVID SMITH; DAVID BURTON;
                                             CORPORATE DOES 1 TO 5; and JOHN DOES 1 TO 10,
                                             CIVIL ACTION
                                             FILE NO. 21-A-03275-2                                                                               Unknown

                                             Potential lawsuit against City of Johns Creek                                                       Unknown

                                             Lawsuit Sonja Williams vs Best Choice Title Service
                                             19MV084353                                                                                         $15,000.00

                                             Potential lawsuit against Meredith Schearer and Meredith
                                             Schearer and Associates                                                                                    $0.00


Official Form 106A/B                                          Schedule A/B: Property                                                                    page 5
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Debtor 1        Sonja Nicole Williams (Ross)                                                                                    Case number (if known)        19-56304

                                                         Lawsuit against Just Cash                                                                                               $0.00

                                                         Lawsuit against JCI Management LLC                                                                                      $0.00

                                                         Lawsuit against Langford Strip, LLC.                                                                                    $0.00


35. Any financial assets you did not already list
     No
     Yes. Give specific information..

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................              $24,000.86

Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
     No. Go to Part 6.
      Yes.    Go to line 38.


                                                                                                                                                                Current value of the
                                                                                                                                                                portion you own?
                                                                                                                                                                Do not deduct secured
                                                                                                                                                                claims or exemptions.

38. Accounts receivable or commissions you already earned
     No
     Yes. Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
     No
     Yes. Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
     No
     Yes. Describe.....


41. Inventory
     No
     Yes. Describe.....


42. Interests in partnerships or joint ventures
     No
     Yes. Give specific information about them...................
                               Name of entity:                                                                                    % of ownership:


43. Customer lists, mailing lists, or other compilations
      No.
      Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

                 No
                 Yes.     Describe.....


44. Any business-related property you did not already list
     No
     Yes. Give specific information.........




Official Form 106A/B                                                          Schedule A/B: Property                                                                             page 6
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Debtor 1         Sonja Nicole Williams (Ross)                                                                                        Case number (if known)       19-56304
                                             Civi Action No. 2018CV303612
                                             ShockTheory DLV, Inc., DBA AAV Worldwide Corporation v. Global
                                             Common Communications, LLC, et. al - Settled during Chapter 13 case
                                             $84,293.60 net proceeds after attorney fees and expenses. $18,986.60
                                             paid to Chapter 13 Trustee                                                                                                          $18,986.60



45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here.....................................................................................................................                   $18,986.60

Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

54. Add the dollar value of all of your entries from Part 7. Write that number here                                        ....................................                    $0.00

Part 8:        List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................                   $865,700.00
56. Part 2: Total vehicles, line 5                                                                         $27,142.00
57. Part 3: Total personal and household items, line 15                                                     $5,000.00
58. Part 4: Total financial assets, line 36                                                                $24,000.86
59. Part 5: Total business-related property, line 45                                                       $18,986.60
60. Part 6: Total farm- and fishing-related property, line 52                                                   $0.00
61. Part 7: Total other property not listed, line 54                                           +                $0.00

62. Total personal property. Add lines 56 through 61...                                                    $75,129.46              Copy personal property total                  $75,129.46

63. Total of all property on Schedule A/B. Add line 55 + line 62
                                                                                                                                                                             $940,829.46




Official Form 106A/B                                                             Schedule A/B: Property                                                                              page 7
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Fill in this information to identify your case:

Debtor 1                Sonja Nicole Williams (Ross)
                        First Name                   Middle Name                  Last Name

Debtor 2
(Spouse if, filing)     First Name                   Middle Name                  Last Name


United States Bankruptcy Court for the:         NORTHERN DISTRICT OF GEORGIA

Case number           19-56304
(if known)                                                                                                                         Check if this is an
                                                                                                                                   amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt
4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions.         11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions.       11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on      Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property              portion you own
                                                        Copy the value from    Check only one box for each exemption.
                                                        Schedule A/B

     822 Jamont Circle, Alpharetta, GA                      $865,700.00                                 $15,199.14      O.C.G.A. § 44-13-100(a)(1)
     30022
     Fulton County                                                                  100% of fair market value, up to
     Line from Schedule A/B: 1.1                                                    any applicable statutory limit


     2016 Mercedes Benz CLA250                                 $8,542.00                                  $5,000.00     O.C.G.A. § 44-13-100(a)(3)
     Line from Schedule A/B: 3.2
                                                                                    100% of fair market value, up to
                                                                                    any applicable statutory limit

     Household Furnishings                                     $3,500.00                                  $3,500.00     O.C.G.A. § 44-13-100(a)(4)
     Line from Schedule A/B: 6.1
                                                                                    100% of fair market value, up to
                                                                                    any applicable statutory limit

     Household Electronics                                     $1,000.00                                  $1,000.00     O.C.G.A. § 44-13-100(a)(4)
     Line from Schedule A/B: 6.2
                                                                                    100% of fair market value, up to
                                                                                    any applicable statutory limit

     Clothing and shoes                                            $500.00                                  $500.00     O.C.G.A. § 44-13-100(a)(4)
     Line from Schedule A/B: 11.1
                                                                                    100% of fair market value, up to
                                                                                    any applicable statutory limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
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Debtor 1    Sonja Nicole Williams (Ross)                                                       Case number (if known)     19-56304
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Wells Fargo                                                   $0.00                                     $0.00       O.C.G.A. § 44-13-100(a)(6)
    Line from Schedule A/B: 17.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Wells Fargo                                                   $0.00                                     $0.00       O.C.G.A. § 44-13-100(a)(6)
    Line from Schedule A/B: 17.2
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Capital One                                                   $0.86                                     $0.86       O.C.G.A. § 44-13-100(a)(6)
    Line from Schedule A/B: 17.3
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    ShockTheory DLV, Inc.                                   $9,000.00                                  $1,500.00        O.C.G.A. § 44-13-100(a)(7)
    100 % ownership
    Office Equipment $3500.00                                                    100% of fair market value, up to
    Business Equipment $5500.00                                                  any applicable statutory limit
    Civil Action No. 2018CV303612
    Line from Schedule A/B: 19.1

    ShockTheory DLV, Inc.                                   $9,000.00                                  $7,500.00        O.C.G.A. § 44-13-100(a)(6)
    100 % ownership
    Office Equipment $3500.00                                                    100% of fair market value, up to
    Business Equipment $5500.00                                                  any applicable statutory limit
    Civil Action No. 2018CV303612
    Line from Schedule A/B: 19.1

    Provisional Patents, Trade Secrets,                     Unknown                                   Unknown           O.C.G.A. § 44-13-100(a)(6)
    Intellectual Property including
    Confidential Information related to                                          100% of fair market value, up to
    Hashcronyms, Kidlytics, CareCynk,                                            any applicable statutory limit
    QAviation , Qrewlive, QTalk,
    Qrewlogg, Qrewlive/Qrewlogg DMC,
    Qrewlive/Qrewlogg EMC, QCentral,
    QDirect, and associated intellectual
    property, including logos,
    specifications, research, and
    prototypes.
    Line from Schedule A/B: 26.1

    Trade Secrets, intellectual property                    Unknown                                   Unknown           O.C.G.A. § 44-13-100(a)(6)
    and confidential information relating
    to Mobloco, MobiMinis, SociallyLive,                                         100% of fair market value, up to
    JankyToSwanky, PoliticalCocktails,                                           any applicable statutory limit
    TuDegrees, Pique.me, OnPhy and
    yDistrupt.
    Line from Schedule A/B: 26.2


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                      page 2 of 2
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                                             United States Bankruptcy Court
                                                   Northern District of Georgia
In re    Sonja Nicole Williams (Ross)                                                           Case No.    19-56304
        Debtor                                                                                  Chapter     7


                  DECLARATION CONCERNING DEBTOR'S AMENDED SCHEDULES

                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                 I declare under penalty of perjury that I have read the foregoing

        Schedule A/B , Schedule C, Statement of Financial Affairs, consisting of       18   page(s), and that they are true and
        correct to the best of my knowledge, information, and belief.




Date     January 2, 2025                                        Signature
                                                                            Sonja Nicole Williams (Ross)
                                                                            Debtor 1

  Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                   18 U.S.C. §§ 152 and 3571.
